Case 0:13-cv-62758-WPD Document 114 Entered on FLSD Docket 03/05/2015 Page 1 of 12



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA
                         FORT LAUDERDALE DIVISION

   EDWARD BUCKALEW, as Executor of the      :   No. 0:13-cv-62758-WPD
   Estate of JEFFREY BUCKALEW, Deceased,    :
   et al.,                                  :
                                            :
                               Plaintiffs   :
         v.                                 :
                                            :
   COLUMBIA AIRCRAFT SALES, INC., et al.    :
                                            :
                               Defendants   :




               PLAINTIFFS’ REPLY TO THE SOCATA DEFENDANTS’
         OPPOSITION TO PLAINTIFFS’ MOTION FOR VOLUNTARY DISMISSAL
          AGAINST DEFENDANT COLUMBIA AIRCRAFT SALES, INC., ONLY
Case 0:13-cv-62758-WPD Document 114 Entered on FLSD Docket 03/05/2015 Page 2 of 12



   I.     INTRODUCTION

          Consistent with their mean-spirited attack on everything plaintiffs’ counsel says or

   does, the Socata defendants have unleashed a litany of falsehoods and inaccuracies in

   support of their Armageddon-like venue fight. It is that fight, and that fight alone –

   precipitated and perpetuated by both Columbia and the Socata defendants – which has

   wasted, and continues to waste, the judicial resources of this Court.

   II.    ARGUMENT

          A.      Paragraph 11 Of The Perrella Declaration Is A Complete Falsehood

          In an effort to bolster their argument that Buckalew knew long before December

   2014 that Columbia would not raise the forum selection clause as a defense in the

   Connecticut action, Socata’s attorney, Mr. Perrella, states in his Declaration:

                  11.     I have had repeated conversations with lead counsel for the
                  Plaintiffs, Mr. Richard Genter, Esq., in which I have told him that the
                  Socata Parties did not contend that the Plaintiffs were bound by the
                  terms of the forum selection clause between Columbia and Cool
                  Stream and that it was my understanding that Columbia also made
                  no such contention.

   (DE 103 at ¶ 11).

          It is most disconcerting to read an attorney Declaration, sworn to under penalty of

   perjury, that makes factual allegations which are untrue. It is equally disconcerting that,

   most of the time, the only way to rebut those falsehoods is to submit a counter

   Declaration denying those statements. Fortunately, however, this instance is not like

   “most of the time”, since here a record exists which confirms that Mr. Perrella’s

   statements are, to be kind, not true.1


   1
     Paragraph 11 of the Perrella Declaration is far worse than the “gamesmanship” previously engaged in
   by Attorney Perrella, about which plaintiffs’ counsel expressed concerns to this Court. (See, DE44 and
   DE44-1 at Exhibit “F”).
Case 0:13-cv-62758-WPD Document 114 Entered on FLSD Docket 03/05/2015 Page 3 of 12



           After Mr. Arnold confirmed at the December 11, 2014 hearing that Columbia was

   not raising the forum selection clause in connection with plaintiffs’ wrongful death

   claims, the following colloquy took place:

                   ATTY GENTER:          And can I ask for that same agreement to be
                   put on the record by Socata, that – that they won’t, as, I guess,
                   indirectly, attempt to enforce the forum selection clause that’s in the
                   agreement of sale?

                   THE COURT:               Well, you can always ask.

                   ATTY. STRAIN:            I need a minute to confer.

                   THE COURT:               Certainly.

                   ATTY. STRAIN:            Thank you.

                   (Discussion held off the record.)2

                   THE COURT:               All right. We’re back on the record.

                   ATTY. STRAIN:      And the specific request was whether the
                   Socata defendants would –

                   ATTY. GENTER: Raise the forum selection clause that’s either in
                   the agreement of sale between Cool Stream and Columbia or in the
                   agreement of sale between Socata and Columbia for the purchase
                   of this aircraft.

                   ATTY. STRAIN:      and the way that – the only – it’s a two-step
                   response, one being, Socata defendants can’t agree to that for
                   reasons that I can’t – I mean, you know, I mean there are – there
                   are reasons that – that go beyond what I can disclose and talk
                   about here today. (Emphasis added).
                                                  ...

           As if that exchange alone were not enough to confirm that Mr. Perrella’s

   Declaration is false, the colloquy continued:



   2
     At this point, Mr. Strain (Socata’s counsel and a partner in Mr. Perrella’s firm) and Mr. Arnold left the
   courtroom for several minutes. (See, Declaration of Richard E. Genter, attached as Exhibit “1” (Genter
   Decl.), and Declaration of Joel Faxon attached as Exhibit “2” (Faxon Decl.)).


                                                         2
Case 0:13-cv-62758-WPD Document 114 Entered on FLSD Docket 03/05/2015 Page 4 of 12



                ATTY. GENTER: . . .I’m glad that Mr. Arnold has made the
                representation that he has, but I think we can see now that the
                forum selection clause issue has not gone away in this case. It’s
                still there.

                THE COURT:            It seems to be.

                ATTY. STRAIN:         I just – I didn’t know we were going to argue
                the merits of this.

                THE COURT:            We’re not arguing the merits –

                ATTY. GENTER:         No.

                THE COURT:            -- of it.

                ATTY. STRAIN:       and so, you know, I don’t – I don’t really want
                to have to respond, but I feel like I should.

                        It’s a contract signed by two parties. And parties often agree
                to litigate, if need be, with certain limitations. They – it’s in every
                contract. It’s in every one of the contracts I sign. This isn’t
                something new, as a way to avoid having to answer for a claim. It’s
                an agreement amongst parties to a contract as to where they will
                resolve their disputes as to the claim. It’s nothing – there’s nothing
                negative about it. It’s not about escaping liability. It’s about parties
                agreeing to where and how they’ll undergo to resolve their disputes.

   (See, Excerpts of December 11, 2014 Hearing Transcript attached as Exhibit “3” at pgs.

   24-29).

         Mr. Perrella cannot produce a single document to confirm what he states in

   paragraph 11 of his Declaration, since there are none. However, if there were a morsel

   or shred of truth to what Mr. Perrella asserts, then certainly Mr. Strain’s “tap-dance” at

   the December 11, 2014 hearing demonstrates that the “repeated conversations” to

   which Mr. Perrella refers in his Declaration are a figment of his imagination. If what Mr.

   Perrella claims even had a scintilla of veracity attached to it, then it would have been

   easy enough for Mr. Strain to say something like – “Your Honor, we’ve told Mr. Genter




                                                  3
Case 0:13-cv-62758-WPD Document 114 Entered on FLSD Docket 03/05/2015 Page 5 of 12



   on numerous other occasions that the forum selection clause is not in the case”.        Mr.

   Strain didn’t say anything like that, because Socata, and its counsel (including Mr.

   Perrella), have never said anything like that. (See, Genter Decl.).

          B.     The First Time Columbia Confirmed That The Forum Selection
                 Clause Was Inapplicable To Plaintiffs’ Claims Was In December 2014

          The Socata defendants argue that Plaintiffs’ Motion is based “almost exclusively

   on the false premise that they only recently learned that Columbia would not be

   asserting a forum selection clause in a contract between Columbia and third-parties not

   present in this litigation”, and also argue that plaintiffs’ lead counsel “has repeatedly

   been told by counsel for Columbia and the Socata Parties that they will not argue that

   the forum selection clause is binding on the plaintiffs”. (DE 104, at pgs. 1 and 12).

   Clearly, that statement is untrue as to the Socata defendants, but as for defendant

   Columbia, Buckalew did not know for certain until December 2014 that Columbia would

   not be invoking the forum selection clause in the Connecticut litigation.

          On December 4, 2014, Columbia filed its Memorandum in Support of its

   Objections to Plaintiffs’ Discovery Re Jurisdiction and Venue in the Connecticut action,

   stating:

                 With respect to Plaintiffs’ venue discovery, these discovery
                 requests only relate to the forum-selection clause in a contract
                 between Columbia and a non-party to this action, Cool Stream,
                 LLC. No party has argued that this forum-selection clause is
                 binding or has any application in this action. . . .Cool Stream, LLC is
                 not a party to any related action in Connecticut, Florida, or New
                 York, and this non-party contract forum-selection clause has no
                 relevance to this Connecticut litigation.

   (See, Exhibit “4” at pg. 3).




                                                4
Case 0:13-cv-62758-WPD Document 114 Entered on FLSD Docket 03/05/2015 Page 6 of 12



           This was the first time that Columbia, or its counsel, ever made a definitive

   statement like that regarding the forum selection clause.                   In fact, since Columbia’s

   Florida counsel, as late as October 14, 2014, was still arguing to this Court that the

   forum selection clause was applicable to plaintiffs’ claims, (DE 76 at pgs. 3-4), the

   need to pin Columbia down on what its “actual” legal position was going to be became

   even more critical. Therefore, after reading this statement in Columbia’s Connecticut

   Discovery Memorandum, Buckalew’s counsel elected to create a record at the

   December 11, 2014 hearing in order to have Mr. Arnold confirm his position, (which he

   did clear as a bell), especially since at the Initial Scheduling Conference held in

   Connecticut on October 20, 2014 (for which there was no record) Mr. Arnold, in

   response to counsel for Buckalew’s query, told the Court that even though Columbia’s

   forum non conveniens motion did not specifically mention the forum selection clause,

   Columbia’s motion (when fully briefed) would nonetheless include arguments embracing

   the applicability of the forum selection clause. (See, Genter Decl. and Faxon Decl.).3

           C.      Columbia’s Forum Non Conveniens Motion In Connecticut

           The Socata defendants argue that Buckalew “never mentioned” and “apparently

   would prefer that this court not know” of Columbia’s pending forum non conveniens

   (“FNC”) motion in Connecticut. (emphasis added). (DE 104, at pgs. 1 and 7). This is

   sheer nonsense.

           There has been no effort by Buckalew, intentional or otherwise, to conceal

   Columbia’s pending FNC motion in Connecticut from this Court. In fact, Columbia’s


   3
       Socata’s arguments further miss the mark since regardless the “fence-straddling” going on in
   Connecticut, which Buckalew has acknowledged to this Court, (DE 76 at ¶ 16), Columbia was still asking
   this Court to enforce the forum selection clause, and it is that inconsistency (a designed strategy) which is
   prejudicial to Buckalew.


                                                        5
Case 0:13-cv-62758-WPD Document 114 Entered on FLSD Docket 03/05/2015 Page 7 of 12



   FNC motion has been raised, and argued, in numerous pleadings already filed in this

   Court. Specifically, Plaintiffs’ Second Renewed Motion to Stay filed on September 24,

   2014 at ¶ 17 stated that in the Connecticut action “defendant Columbia filed a Motion to

   Dismiss for Forum Non Conveniens on July 23, 2014”. (DE 76 at ¶ 17). In addition, the

   Joint Scheduling and Discovery Report filed by the parties on October 23, 2014 stated

   in ¶ 8(k) that in the Connecticut action “Columbia has filed a forum non conveniens

   motion. . .”. (DE 82 at pg. 13). Buckalew’s Reply Brief in Support of his Second

   Renewed Motion to Stay filed on October 21, 2014 also addressed the arguments

   surrounding Columbia’s FNC motion in Connecticut and Buckalew even attached copies

   of his opposition papers to that FNC motion filed in Connecticut. (DE 81 at pg. 5 and at

   DE 81-1). Clearly, there has been no attempt by Buckalew to not tell this Court about

   Columbia’s FNC motion.

         Buckalew did not raise Columbia’s FNC motion in his F.R.C.P. 41(a) motion for

   the sole reason that Buckalew does not believe that the pendency of that motion in

   Connecticut has any bearing on whether plaintiffs are entitled to seek a voluntary

   dismissal of Columbia in the Florida action.    How important could Columbia’s FNC

   motion really be when it has asked the Connecticut Court to defer briefing on the motion

   for perhaps up to one year after it was filed? Columbia has taken no action on its FNC

   motion for two reasons; one, it was filed simply to delay the Connecticut proceedings,

   and two, it doesn’t have much chance of success. It was not Buckalew’s obligation to

   argue in his opening brief the lack of effect or impact Columbia’s FNC motion in

   Connecticut has on Buckalew’s motion for voluntary dismissal in Florida. Obviously, the

   defendants believe (no surprise there) that Columbia’s FNC motion is relevant; thus it




                                              6
Case 0:13-cv-62758-WPD Document 114 Entered on FLSD Docket 03/05/2015 Page 8 of 12



   was their issue to raise in their opposition papers (which they have done) and it is for

   Buckalew to rebut in his Reply Brief(s) permitted under L.R. 7.1(c), which he will do.4

                   1.      Columbia’s Strategy To “Table” Its Forum Non Conveniens
                           Motion In Connecticut Has Backfired

           As is detailed further in Plaintiffs’ Reply to Columbia’s Opposition Brief, (DE 102),

   Columbia’s strategic decision to file its Motion to Dismiss in Connecticut as a

   “placeholder” (without briefing or arguing that Motion) has backfired. As is painfully

   clear, Columbia’s strategy was to use that Motion both as a “shield” to merits discovery

   in Connecticut and as a “sword” in the Florida action to keep alive the forum selection

   clause defense and prevent Buckalew from ever returning to Connecticut. That this

   improper and prejudicial strategy might now fail (and be uncovered for what it really is)

   cannot, however, act as an impediment to granting Buckalew’s request for a voluntary

   dismissal.

           D.      The Filing Of Plaintiffs’ Motion For Voluntary Dismissal Of Columbia
                   Was Not Triggered By The United States’ 28 U.S.C. § 1404(a) Transfer
                   Motion Filed In The Eastern District Of New York

           As a result of Mr. Arnold’s admission at the December 11, 2014 hearing,

   Buckalew ordered a copy of the hearing transcript from the court reporter, which

   transcript was received on or about December 29, 2014. (See, Exhibit “5”) On January

   3, 2015, five days after receiving the transcript (which included the New Year’s holiday),

   plaintiffs’ lead counsel (Mr. Genter) sent an e-mail to Andrew Brown, Esquire, (“Brown”),

   an attorney who does legal research on an independent contractor basis for Mr. Genter

   (a sole practitioner).      That e-mail asked Mr. Brown if he had time to do “another

   Buckalew research project”. On January 5, 2015, Mr. Brown responded that he was

   4
    Even Socata’s suggestion that Buckalew’s counsel tried to “hide” this motion from this Court is insulting.
   Does Socata really think Buckalew’s counsel is that dumb? Hopefully, not.


                                                       7
Case 0:13-cv-62758-WPD Document 114 Entered on FLSD Docket 03/05/2015 Page 9 of 12



   able to assist and later that week Mr. Genter and Mr. Brown discussed the matter by

   telephone. On January 16, 2015, Mr. Genter e-mailed Mr. Brown and asked: “Any

   progress on FRCP 41 research?”. Mr. Brown responded on January 19, 2015, “Have

   stuff to send tomorrow”. Having not yet received the “stuff” from Mr. Brown, Mr. Genter

   e-mailed Mr. Brown again on January 21, 2015, – “Just following up” – to which Mr.

   Brown responded “Putting stuff together now”. Thereafter, Mr. Brown forwarded his

   F.R.C.P. 41 research to Mr. Genter on January 21, 2015 and January 22, 2015. (See,

   Declaration of Andrew Brown, attached as Exhibit “6”). (Also, see Genter Decl.).

           This timeline clearly demonstrates that Buckalew intended to seek a dismissal of

   Columbia under F.R.C.P. 41 long before (by almost one month) the United States’

   January 26, 2015 letter to the Court in New York requesting a Pre-Motion Conference

   for the 28 U.S.C. § 1404(a) motion the United Sates wanted to file. Thus, Socata’s

   suggestion that it was the United States’ January 26, 2015 letter which triggered

   Buckalew’s sudden “interest” in seeking a dismissal is flat-out wrong.5

           E.      The Southern District Of Florida Is Not A Proper Venue For
                   Buckalew’s FTCA Claims Under 28 U.S.C. § 1402(b)

           Finally, the Socata defendants berate Buckalew’s counsel for filing Buckalew’s

   Federal Tort Claims Act (FTCA) lawsuit in the Eastern District of New York, “without

   offering any explanation of why” it was not filed here. Socata continues their vitriol

   directed at plaintiffs’ counsel, claiming he did “not even mention this third action, let

   5
     Buckalew’s counsel did not send his “meet and confer” letter regarding Buckalew’s proposed Motion for
   Voluntary Dismissal until January 29, 2015 for two reasons: (1) he wanted to read and digest the legal
   research Mr. Brown supplied to make certain the proposed request was valid; and (2) he wanted to have
   the motion relatively ready for filing, (which was not filed until February 5, 2015 because it took the
   defendants four (4) days to respond to plaintiffs “meet and confer” request), since he knew the
   defendants would not only object but, more importantly, he suspected Columbia would deploy some other
   strategic device to thwart plaintiffs’ efforts (which it did by seeking leave to join Cool Stream as a third
   party defendant and leave to file a Counterclaim against the Estate of Jeffrey Buckalew). (See, Genter
   Decl.).


                                                        8
Case 0:13-cv-62758-WPD Document 114 Entered on FLSD Docket 03/05/2015 Page 10 of 12



    alone the fact that the United States has filed a motion to transfer that action to this

    Court under 28 U.S.C. § 1404”. (DE 104 at pg. 4).

              This Court has never been kept in the dark about Buckalew’s FTCA action filed in

    New York and, in fact, issues surrounding this lawsuit were specifically addressed in the

    Protective Order entered by this Court on December 9, 2014. (See, DE 92 at ¶ 6,

    addressing when confidential documents and information “may be used in the Buckalew

    plaintiffs’ related action in the United States District Court for the Eastern District of New

    York”).

              Furthermore, the reason(s) why Buckalew did not, and could not, file his FTCA

    claims in Florida were previously addressed in Plaintiffs’ Reply Brief in Support of his

    Second Renewed Motion to Stay Action filed on October 21, 2014 -- because venue for

    those FTCA claims against the United States was only proper under 28 U.S.C. §

    1402(b) in Virginia (where plaintiffs are domiciled) or New York (where the air traffic

    control facilities involved are located). (DE 81 at pg. 4). This is the same position

    Buckalew has taken in response to the United States’ §1404 transfer motion filed in

    New York. (See, Plaintiffs’ Memorandum in Opposition to the United States’ Motion to

    Transfer filed in the Eastern District of New York, attached as Exhibit “7”).

              Buckalew also advised this Court in that same pleading, (DE 81), that because

    there was another passenger onboard the aircraft who would be filing an FTCA lawsuit

    in New York (and now there is also third litigant – a subrogated insurance company –

    filing an FTCA lawsuit in New York), Buckalew did not expect the United States to seek

    a §1404 transfer of those claims to Florida, especially since none of the United States’

    witnesses are located here and those other two claims could not be brought or




                                                  9
Case 0:13-cv-62758-WPD Document 114 Entered on FLSD Docket 03/05/2015 Page 11 of 12



    transferred here either. Moreover, even assuming Buckalew’s FTCA action could be

    filed in this Court (which it could not), then this Court would be deemed “the transferor”

    Court for choice of law purposes on Buckalew’s FTCA claims should the United States

    ever seek to transfer Buckalew’s claims to New York where the other parties will file, a

    likely scenario in this case if Florida law is deemed to apply (as Socata and Columbia

    urge).6 (DE 81 at pg. 4). In short, Buckalew’s New York FTCA action is not, and never

    has been, a secret.

    III.    CONCLUSION

            For all the foregoing reasons, together with the reasons set forth in Plaintiffs’

    Motion for Voluntary Dismissal of Defendant Columbia Aircraft Sales, Inc. Only, (DE

    93), plaintiffs respectfully request that their Motion be granted.


    Date: March 5, 2015                              Respectfully submitted,

                                                     Counsel for the Plaintiffs

                                                     HELLER WALDMAN, P.L.

                                                     /s/ Glen H. Waldman
                                                     Glen H. Waldman, Esquire
                                                     3250 Mary Street, Suite 102
                                                     Coconut Grove, FL 33133
                                                     Telephone: 305-448-4144
                                                     E-mail: gwaldman@hellerwaldman.com

                                                             and




    6
      Should this Court ultimately apply Florida law to this case, the third party complaint against the United
    States will likely be dismissed since Florida law no longer recognizes joinder claims for contribution or
    indemnity.


                                                        10
Case 0:13-cv-62758-WPD Document 114 Entered on FLSD Docket 03/05/2015 Page 12 of 12



                                           LAW OFFICE OF RICHARD E. GENTER

                                           /s/ Richard E. Genter
                                           Richard E. Genter, Esquire
                                           (Admitted Pro Hac Vice)
                                           610 Old York Road, Suite 200
                                           Jenkintown, PA 19046
                                           Telephone: (215) 884-8190
                                           E-mail: richard@genterlaw.com

                                           Counsel for Plaintiffs EDWARD BUCKALEW,
                                           Executor of the Estate of JEFFREY
                                           BUCKALEW, Deceased; EDWARD
                                           BUCKALEW, Executor of the Estate of
                                           CORINNE BUCKALEW, Deceased; EDWARD
                                           BUCKALEW, as Administrator of the Estate of
                                           JACKSON BUCKALEW, Deceased, and
                                           EDWARD BUCKALEW, as Administrator of the
                                           Estate of MERIWETHER BUCKALEW,
                                           Deceased




                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 5th day of March 2015, I electronically filed the

    foregoing with the Clerk of the Court by using the CM/ECF System.


                                                  /s/ Glen H. Waldman_____________
                                                  Glen H. Waldman




                                             11
